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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND


FEDERAL TRADE COMMISSION,                     *
                                              *
              Plaintiff                       *
                                              *
v.                                            *           Civil No. PJM 18-3309
                                              *
ECOLOGICAL FOX, LLC et al.                    *
                                              *
              Defendants.                     *


                                           ORDER

       Having considered Defendant Atlantic International Bank, Ltd.’s (“AIBL”) Motion to

Dismiss, ECF No. 64, the Federal Trade Commission’s (“FTC”) Opposition thereto, ECF No.

120, and AIBL’s Reply, ECF No. 144, it is, for the reasons stated on the record during the

motions hearing held on February 1, 2019, this 1st day of February, 2019

       ORDERED:

           1. Defendant Atlantic International Bank, Ltd.’s Motion to Dismiss, ECF No. 64, is

              DENIED;

           2. Defendant Atlantic International Bank, Ltd.’s Motion to Strike Portions of Luke

              Chadwick’s Declaration, ECF No. 148, is GRANTED IN PART and DENIED

              IN PART.



       February 1, 2019



                                                                 /s/            _
                                                        PETER J. MESSITTE
                                                   UNITED STATES DISTRICT JUDGE
